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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 16-20893-FAM-(s)

  UNITED STATES OF AMERICA

  v.

  MONTY RAY GROW,

              Defendant.
  ___________________________________/

       GOVERNMENT=S NOTICE OF INTENT TO RELY ON EXPERT TESTIMONY

         The United States of America, through the undersigned Assistant United States Attorney,

  hereby gives notice of its intent to rely on the following expert testimony at trial:

         David Kazarian- Mr. Kazarian is a pharmacist licensed in Florida and will testify to the

  information contained in paragraph 8 of the Superseding Indictment. Specifically, Mr. Kazarian

  will testify that Florida law requires a valid practitioner-patient relationship to exist before any

  drug may be prescribed. Mr. Kazarian will describe the requirements under Florida law for the

  existence of a practitioner-patient relationship, including among other things, requirements of a

  documented patient evaluation that includes history and physical examination adequate to establish

  a diagnosis for which the drug was prescribed.

         Dr. Arthur Simone, M.D., Ph.D.- Dr. Simone is a Medical Doctor licensed in the states

  of New Jersey and Pennsylvania and a Senior Medical Advisor with the Food and Drug

  Administration’s (“FDA”) Office of Unapproved Drugs and Labeling Compliance, Center for

  Drug Evaluation and Research, FDA. Dr. Simone will testify in pertinent part to the information

  contained in paragraph 9 of the Superseding Indictment, specifically that Flurbiprofen and

  Loperamide were “drugs” within the meaning of Title 21, United States Code, Section 321(g)(1)

  and were “prescription drugs” as defined in Title 21, United States Code, Section 353(b)(1).

         Don Wunderlin- Mr. Wunderlin is a health care fraud specialist with the Defense Health

  Agency, which oversees the implementation of the Tricare Program. Mr. Wunderlin will testify as

  to specific rules governing Tricare coverage, including the requirement of co-payments and the
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  rules for waiving co-payments associated with the compound drugs involved in this case. In

  addition, Mr. Wunderlin will explain the Tricare rules governing the use of telemedicine services.




                                               Respectfully submitted,

                                               RANDY A. HUMMEL
                                               ATTORNEY FOR THE UNITED STATES
                                               ACTING UNDER AUTHORITY CONFERRED
                                               BY 28 U.S.C. § 515.


                                           By: s/Kevin J. Larsen
                                               Kevin J. Larsen
                                               Assistant United States Attorney
                                               Florida Bar No. A5501050
                                               99 Northeast 4th Street, 4th Floor
                                               Miami, Florida 33132-2111
                                               Telephone: (305) 961-9356
                                               Kevin.Larsen@usdoj.gov
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on JANUARY 9, 2018, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF

                                                    s/Kevin J. Larsen
                                                    Kevin J. Larsen
                                                    Assistant United States Attorney
